Case 2:10-md-02179-CJB-DPC Document 6184-1 Filed 04/05/12 Page 1 of 3

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beste ts, » eC.

234 West William David Piowy
Metairie, LA 7aags
Office Phone: 504-934-0673

Daniel E. Becnel, Jr.
(06 West Seventh Stree
PO Drawer H

feserve, Louisiana 708-4

Dear Mir, Beonel:

AH slatemenis coniained herein sre true and correct and based UPON my personal
hnowleds anu lama person of Aull age of majerity, competent to
execute this preliminary evaluation of ihe workplace exposures of Malcolm Coen for purpases af
mediation. This is not a specific causation report but rather an overview of the General
Causation evidence in the scientific literature and the association of such with the exposures of

cities while ermploved by BP Oil, including the ignition of
r Harizon Oil Spill.

acucalion, and ex pen Che

Alaicalm Coco during Ais workplace

the crude oi released by ihe BP Deer

Malealm Caco worked for BP Ol gronm: May 14, 2610 through Sep niember 2, 2010. He
worked : Hi the crude vil on tire. He signed up with hhe Vessefs of
Opportunity, Elis ooai iransportéed on a large ship with the mission to set contro! burns of
tne crude oil on the surlace of the water. There was an explosive expert on the ship with the
asoline bombs that would be thrown into the crude oil to start the fires.

responsibility io make ¢

The gasoline bombs were fi line and soap powder in plastic }4 eallon milk jugs. A

Hare 3 ek inke de e pastes just and attached wih duet tape. Maleolin was
responsible for lighting
could smell the gas fr

he could smell the fume:

vi throwing the gasoline bombs into the crude oil, He recalls that he
ermuk carian when handling the gasoline bombs, He also recalls that
oan the surface crude oil when he was on ihe ship and got closer to the
je Water rye lime
He would drive

surtace boomed all, rater of the Gull of Mexico as black and th

Gk oe nendreds of yards from the boon

from the niotor o 3 i!
is boat w within an inch of the boanis containing the oil and throw the fare - barabs about are
out into the oil, He would den back up the boat very carefully,

fires were Ht they formed am mushroom cloud that rose 70-80 feat hi ah. He fit 10
(ral is di Wises crude ail,

When the

“fighting ‘the : _ planes were fying overhead sropping
in anci ihe other workers. He worked with the burn team for

GVO weelts,

Exhibit “A”
Case 2:10-md-02179-CJB-DPC Document 6184-1 Filed 04/05/12 Page 2 of 3
He was not given any personal proiective & squipment, He had no mask or respirator. He
‘alls that there were

air Guality personnel on the ship. The enitre operation was overseen by
the US Coast Guard from ihe ship. 7 here was much secrecy.

communication with the ship and overhes
the pellcepter would be downed, He vi
workers did take pictures. & picture
clouds rising up from the i
petroleum oil, He

returned ta Mew

Pee

He had a racic to maintain

i voices telling a news helicopier to leave the area or
del not to take pictures. However, he and the other
verify Mr. Coco's description of the extensive black
ed surface crude oil. Myr. Coco described the heavy odors of
itas the smell of refinery towns in Texas. He recalls that when he
- sv ocior of orl,

ter bo weelss

the use of the boal,

e wansierred. but BP Oil kept his boat and paid for
“aid not keep him on the burn unit because he was

an

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Case 2:10-md-02179-CJB-DPC Document 6184-1 Filed 04/05/12 Page 3 of 3

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# biological eMeels; The

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adies supplement and confirm

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able tu expect that monitoring data exists
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chHnES, 2° ahes, PPADS

oxbeology Experts, LLC

Mreetlent, Environmental T
